                Case 3:09-cr-00116-LRH-WGC               Document 87       Filed 03/04/11   Page 1 of 6
AO 2458 (Rev.(9/08)JudgmtntinaCriminalC%e
           Sbeetl

                                             UNITED STATES DISTRICT COURT
                                                  DISTRICT OF NEVADA

U NITED STATES OF AM ERICA                    JUD G M EN T IN A CltlM lN AluC A SE
                VS.
GREGORIO DELGADILLO-PEREZ                             CASENUMBER:          3:09-CR-1IGLRHIRAM I-4
akaJoseHernandez-Andrade                                                   3:09-CR-l20-LRH(RAM )
akaHpatron''                                          USM NUMBER:          43244-048
akaJoseJesusHernandez-Andradetlx )
                                               Loren Grabam.CJA
TH'E DEFEND ANT:                              DEFENDANT'SA'IVORNEY

(/)       pled guiltytoCountts)1 2lU.S.C.841(a)(1b(b).(b)(1)(B)and 846 in Case3:09-CR-1l6-LRHIRAM )-4
          and Count1 8 U.S.C.I3266a)in Case3:09-CR-lZO-LRHIRAM J
()        pled nolocontenderetocountts)                                      whichwasacceptedbythecourt.
()        wasfoundguiltyoncountts)                                           afterapleaofnotguilty.
Thedefendantisadjudicatedguiltyoftheseofl-ensets):
                                                                                                                      ;
                                                                                 Date                                 .
Title & Section                     Nature ofO ffense                            O ffenseEnded            Count       7

2IU                                                                                                                   1
      S.C.84l(a)(I)(b),
      .                             ConspiracytoPossesswithlntentto        1l/19/09                                   l
(b)(l)(B)and846                     DistributeandtoDistribute 100grams
                                    Ormoreofheroin.(7:09-CR-l16-LRHIRAM II
8 U.S.C.l3264a.
              )                     UnlawfulReentry by aDeported,Removed    11/l9/09
                                    OrExcluded Alien(3:09-CR-120-LRH(RAM ))
          Thedefendantissentencedmsprovidedinpages2through 6 ofthisjudgment.Thesentenceisimposedpursuant
to the Sentencing Reform Actof l984.

()        Thedefendanthasbeenfoundnotguilty oncountts)
(W)       RemainingCountsaredismissedonthemotionoftheUnitedStatesin Case3:09-CR-1l6-LRHIRAM I-4
       IT IS O RD ERED thatthe defendantm ustnotify the United StatesAttorney forthis districtwithin 30 daysofany
change ofnam e,residence,orm ailing address untilaIIfines,restitution,costs,and specialassessments im posed by this
judgmentare fully paid. Ifordered to pay restitution,thedefendantmustnotify thecourtand United Statesattorney of
materialchangesin econom iccircumstances.

                                                                  M A RCH 2.2011
                                                                  Date o       siti ofJudgment

                RLED                 RECEIVO
                ENTERO               SERVK 0:                     S1 ature ofJudge
                          A    EUPACTIESOFRRClW
                                                                  LARRY R.HICKS
                                                                  U .S.DISTRICT JUDGE
                      *       IM1                                 Nam eand Title ofJudge

                  CLERK IJS DISTRICTQOIJBT
                    DISTqIW OFNEVADA
                                                                     >/eF z/
                                                                  IlateF
          BY:                                DEPU!Y
'


!
!                  Case 3:09-cr-00116-LRH-WGC              Document 87     Filed 03/04/11       Page 2 of 6
;
!    AO2458 (Rm'.X/08)Judgmen!inaCriminalCasc
i'             sheet2 -lmprisonment

j
:
     DEFENDANT:                 G REGOI  UODELGADILLO-PEREZ
                                aka Jose Hernandez-Andrade aka 4Patron''
                                                                                                    Judgment-Page 2
;                               akaJoseJesusHernandez-Andradetn )
i    CASE NUM BER:              3:09-CR-Il6-LRHIRAM)-4and3:09-CR-1ZO-LRHIRAM )              '
i                                                      Im m soxm x'r
i
E
;            Thedefendantishereby comm itted tothecustody ofthe United StatesBureau ofPrisonsto beimprisoned foratotal
'
l    tenn Of:THIRTY SEVEN (37)M ONTHS to run concurrentasto b0th cases.
!
;

!
i

:

1.
i
I
!    (C)      ThecourtmakesthefollowingrecommendationstotheBureauofPrisons:
!
;
              southern california-Fcl

!    (.
      /)      Thedefendantisremandedtothecustody oftheUnitedStatesM arshal.
1
i
!
I    ()       ThedefendantshallsurrendertotheUnited StatesMarshalforthisdistrict:
i             ( ) at                 a.m./p.m.on
1
;
              ( ) asnotifiedbytheUnitedStatesMarshal.
l    ( ) Thedefendantshallsurrenderforserviceofsentenceattheinstitutiondesignatedby theBureauofPrisons:
i
i             ()      before 2 pm .on
                                  .

'
1             ()      msnotifiedbytheUnitedStatesMarshal.
i             ()      msn0tifiedbytheProbationofPretrialServicesOffice.
i
i                                                           M TUM
i
!
i    Ihaveexecutedthisjudgmentasfollows:
i
j'
!
l    D
i        efendantdeliveredon                                 to
j
y
     at               '
                                                                               ,withacertifiedcopyofthisjudgment.
i
i
I                                                                   U NITED STATES M ARSHA L
i
i                                                                    BY:                                                 $.'
i                                                                          Deputy United StatesM arshal
!
5
!


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i
é
i
i
                   Case 3:09-cr-00116-LRH-WGC                      Document 87        Filed 03/04/11        Page 3 of 6
;     AO2458 (Rev09/08)Judc-mrntinaCrimi
                                       nalCase
i             Sheet3-SupervisedRcjease
i     DEFEND ANT:               G REGO IUO DELGAD ILLO-PEREZ                                                     Judgment-Page 3
                                aka Jose Hernandez-Andrade aka tlpatron''.            .       .
                  .             akaJoseJesusHernandez-Andradet'lW )                                                                     . .
      CASEN           ER.
                        .       3:09-CR-1I6-LRHIRAM)-4and3:09-CR-l20-LRH(RAM)
E
                                                         SUPERYRSED RELEASE
I
i
I
'             Upon release from imprisonment,thedefendantshallbeon supervised release fora tenn of5 vearsmsto 3:09-CR-
'
      116-LRH fRAM )-4 and 3 vearsasto 3:09-CR-lZO-LRHIRAM )to run concurrent.
              The defendantm ustreportto the probAtion om ce in the districtto which the defendantisrelemsed w ithin 72 hours
      ofrelease from the custody ofthe Bureau ofPrisons.
I     The defendantshallnotcomm itanotherfederal,state,orlocalcrime.
.
:
!
      The defendantshallnotunlawfully possessa controlled substance. Thedefendantshallrefrain from any unlaw fuluseofa
      controlledsubstance.Thedefendantshallsubmitto onedrugtestwithin 15daysofreleasefrom imprisonmentandatleast
      tsvo periodic drug teststhereafter,notto exceed 104 drug testsannually. Revocation ismandatory forrefusalto com ply.

      ()      Theabovedrugtestingconditionissuspended,basedonthecourt'sdeterminationthatthedefendantposesalow risk
1             offuturesubstanceabuse.(Check,ifapplicable.)
'     (4-)    Thedefendantshallnotpossessatirearm, ammunition,destructivedevice,oranyotherdangerousweapon.(Checks
!
!
              ifapplicable.)
      (Z)     ThedefendantshallcooperateinthecollectionofDNA asdirectedbytheprobationoffice.(Check,ifapplicable.)
      (.)     ThedefendantshallcomplywiththerequirementsoftheSexOffenderRegistrationandNotificationAct(42U.S.C.
              j.16901'etseq.)Asdirected bytheprobationofficestheBureau ofPrisons,oranystatesexoffenderregistration
              agency in which he orshe resides.,works,isa student,orwasconvicted ofa qualifying offense. (Check,if
'
1             applicable.)
!     ( ) Thedefendantshallparticipateinanapprovedprogram fordomesticviolence.(Check,ifapplicable.)
i
             Ifthisjudgmentimposesa fine ora restitution,itisa condition ofsupea ised releasethatthe defendantpay in
      accordancewiththeScheduleofPaymentssheetofthisjudgment.
              The defendantm ustcom ply with thestandard conditionsthathave been adopted by thiscourtas wellmswith any
'
i     additionalconditionsontheattachedpage.
;             '
1                                            ST        ARD CONDITIO NS O F SUPERW SIO N
!
      l)      thedefendantshallnotltavethejudicialdistrictwithoutthepcrmissinnofthecourtorprobationoffict.
      2)      thedcfcndantshallreporttotheprobationofficeandshallsubmitatruthfulandcompletcwrittenrcportwithinthefirstfivedaysoftachmonth;
      3)      thcdefendantshallanswertruthfullyallinquiriesbytheprobationofliceandfollow theinstructionsof'theprobationom cc;
      4)      thedefkndantshallsupporthisorhtrdependantsandmeetotherfamilyresponsibilities' >
I
!
      5)      thedefendantshallworkregularlyatalawfuloccupation unlessexcusedbytheprobationofficef0rschooling,tmininp orotheracceptable
i             KaSOnS,.
I
'
      6)      thedefendantshallnotifytheprobationofficeatleasttendayspriortoanychangeinresidenceoremployment;
      7)      thedefendantshallrefrainfrom excessiveuseofalcoholandshallnotpurchase.possess,use,distributeoradministeranycontrollcdsubstance
              oranyparaphemaliarrlatedtoanycontroliedsubstances,exceptasprescribedY'apllysiciarl;
      8)      thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegallysold used,distributed oradministered;
      9)      thedefendantshallnotassociatewithanypeoonsengagedincriminalactivity andshallnotassociatewithanypersonconvictedofafelony,
              unlessgrantcd permission to do so by theprobation officc;               ''                                     '             .
      I0)     thedet
                   kndantshallpermitaprobationomcetovisithim orheratanytimtathomeorelsewhcreandshallpermitconfiscationofanycontraband
2 .           observedinplainview ofth:probationomcc;
!     11)     thedefendantshallnotifytheprobationofficewithinseventptwohoursofbeingarrestedorqucsîionedbyalaw enforcementomce:
I     12)     thedefendantshallnotenterintoanyagreementtoactasaninformeroraspecialagentofalaw enforcementagencywithoutthepermission
I             ofthecourt;and
      13) asdirectedbythcprobationomce,thedcfcndantshallnotifythirdpartiesol   -risksthatmaybeoccmsionedbythedefendantrscriminalrecord
          orpersonalhistoryorcharacteristics andshallpcrmittheprobationoflicetomakesuchnotiiicationsandtoconfinn thtdefendantscompliance
              with such notification requiremtnt.


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!
                 Case 3:09-cr-00116-LRH-WGC            Document 87        Filed 03/04/11      Page 4 of 6
i   AO 2458 (Rev.(9/08)JudFnentinaCriminalCase
q            Sheet3-SupervlsedRelease
1   DEFENDANTZ               G REGORIO DELGADILLO-PEREZ                                           Judgment-Page 4
                             akaJose Hernandez-Andradeaka ttpatron''
                             akaJoseJesusHernandez-Andradetn )
    CASE NUMBER:.            3:09-CR-1l6-LRHIRAM I-4and 3:09-CR-lZO-LRHIRAM)


                                          SPECIAL CONDITIO NS OF SUPERW SIO N
    l.      Possession ofW eapon -Thedefendantshallnotpossess,haveunderhis/hercontrol,orhave accessto any firearm ,
            explosive device,orotherdangerousweapons,asdefined by federal,state orIocalIaw .

    2.      W arrantless Search -The defendantshallsubm itto the search ofhis/herperson,and any property,residence,or
            automobile underhis/hercontrolby the probation office,orany otheranthorized person underthe imm ediateand
            personalsupervision ofthe probation office w ithouta search warrantto ensure com pliance with allconditionsof
            release.

    3.      Substance Abuse Treatment -The defendantshallparticipate in and successfully complete a substance abuse
            treatment and/or cognitive based life skills program ,which will include drug/alcoholtesting and outpatient
            counseling,asapproved and directed by theprobation office.You shallrefrainfrom theuseànd possession ofbeer,
            w ine,Iiquorand otherformsofintoxicantswhileparticipating in substanceabuse treatment.Further,thedefendant
            shallberequired to contributeto thecostsofservicesforsuch treatment,asapproved and directed bythe probation
            ofrice,based upon his/herability to pay.
    4.      A lcoholAbstinence-Defendantshallrefrain from the use and possession ofbeer,wine,liquorand otherform sof
            intoxicants.
            TrueName -Defendantshallusehistrue name ata1ltimesand willbe prohibited from the useofany aliases,false
            datesofbirth,socialsecurity num bers,placesofbirth,and any otherpertinentdemographic information.

    6.       lmm ieration Com oliance-lfdefendantisdeported,heshallnotreentertheUnited Statesw ithoutlegalauthorization.
             If defendantdoes reenterthe United States,w ith orw ithoutlegalauthorization,he shallreportin person to the    l
             probation office in the districtofreentry within 72 hours.                                                     :
                                                                                                                            i
    7.       Reoortto Probation Office AfterRelease from Custodv -lfnotdeported>defendantshallreportsin person,to the       I
                                                                                                                            .

             probation office in the Districtto which he isreleu ed w ithin 72 hoursofdischarge from custody.




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             Case 3:09-cr-00116-LRH-WGC                 Document 87     Filed 03/04/11    Page 5 of 6
AO 2458 (Rev09/08)JudgmtntinaCriminalCase
         Sheet5-CriminalMonetarvPenalties
DEFENDANT:               GREGORIO DELGA DILLO-PEREZ                                           Judgment-Page 5
                         aka Jose Hernandez-Andrade aka tlpatron''
                         akaJoseJesusHernandez-Andradet'
                                                       M )
CASE NUMBER:             3:09-CR-lIGLRHIRAM I-4and 3:09-CR-1ZO-LRHIRAM )
                                       CRIM INAL M ONETARY PENALTIES
        Tbe defendantmustpay thetotalcriminalmonetary penalties underthe scheduleofpaym ents on Sheet6.

                                  Assessm ent                   Fine                        Restitution

        Totals:                   $200.00                      SW AIVED                      $N/A
                                  Due and payable immediately.

()      On motion bytheGovernmenq IT ISORDERED thatthespecialassessmentimposed bytheCourtisremitled.
        The determ ination ofrestitution isdeferred until                  . An Am ended Judgmentin aCrim inalCase
        (AO 245C)willbeentered aftersuchdetermination.
        Thedefendantshallmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountIisted
        below.                                              '

        lfthe defendantmakesapartialpaym ent,each payee shallreceive an approxim ately proportioned payment,unless
        specifiedotherwiseinthepriorityorderorpercentagepaymentcolumn below. However,pursuantto 18U.S.C.j
        3664(1),aIlnonfederalvictimsmustbepaidbeforetheUnited Statesispaid.
N ame ofPavee                               TotalLoss           Restitution Ordered          Prioriw ofPercentace

Clerk U.S.DistrictCourt
Atln:FinancialO flice
CaseNo.3;09-CR-l16-LRHIRAM I-4
CaseNo.3:09-CR-120-LRH(RAM )
333 LmsVegasBoulevard,South
Las Vegas,'
          N V 8910l                                                                                                      I
                                                                                                                         1
                                                                                                                         1
TOTA LS                                     $                   $


Restitution amountordered pursuantto plea agreement: $
The defendantm ustpay intereston restitution and a fine ofmore than $2,500,unlessthe restitution orfine ispaid in full
beforetheGfteenthday afterthedateofjudgment,pursuantto I8 U.S.C.j3612(9.AlIofthepaymentoptionsonSheet6
maybesubjecttopenaltiesfordelinquencyanddefault,pursuantto 18U.S.C.j3612(g).
The courtdetermined thatthedefendantdoesnothave the ability to pay interestand itis ordered that:

         theinterestrequirementiswaived forthe: ( )fine ( )restitution.
         theinterestrequirementforthe: ( )Gne ( )restitution ismodified asfollows:



*Findingsforthe totalamountoflossesare required underChapters 109A ,1l0,l10A,and I13A.ofTitle l8 foroffenses
com m itted on orafterSeptem ber 13,l994 butbefore April23,l996.
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i
!   AO2458 (Rev09/08)JudgmenlinaCriminalCase
           Shrel6-SchedaleofPavments
    DEFEN DANT:            GREGORIO DELGADILLO-PEREZ                                                 Judgm ent-Page 6
                               akaJoseHernandez-Andradeakat
                                                          'Patron''
.
1                              akaJoseJesusHernandez-Andradeto )
i   CASE NUM BER:              3:09-CR-1l6-LRHIRAM)-4and3:09-CR-120-LRH(RAM )

                                                 SCHEDULE OF PA             NTS
    Having assessed thedefendant'sability to pay,paym entofthe totalcrim inalmonetary penaltiesare due asfollows:

              (C)        Lumpsum paymentof$ 200.00      due immediately,balancedue
                         ( ) notlaterthan               ;or
                         ( ) inaccordancewith( )C,( )D,or( )E below;or
    B                    Paymentto beginimmediately (maybecombinedwith( )C,( )D,or( )E below;or
                         Paymentin                                 (e.g.,weekly,monthjy,quarterly)installmentsof$
                               overaperiodof                  (e.g.monthsoryears),to      .             (e.g.,30or60days)
                         afterthedateofthisjudgment;or
    D                    Paymentin          (e.g.,weekly,monthly,quarterly)installmentsof$        overaperiodof
                              (e.g.,monthsoryears),to          (e.g.,30or60days)afterreleasefrom imprisonrnenttoaterm
                         issupervision;or

              Paymentduringtheterm ofsupervisedreleasewillcommencewithin                    (e.g.,30or60days)aRerrelease
              from imprisonm ent. Thecoull willsetthepaymentplan based on an assessm entofthedefendant'sabilit'
                                                                                                              y topay at    i
                                                                                                                            r
              thattime;or                                                                                                   ;
                                                                                                                            !
                         Specialinstructionsregarding thepaymentofcrim inalmonetary penalties:


    Unlessthecourthasexpresslyorderedothenvise,ifthisjudgmentimposesimprisonment,paymentofcriminalmonetary
    penaltiesisdue during imprisonment. Al1crim inalm onetary penalties,exceptthose paymentsm ade through the Federal
    BureauofPrisons'lnmate FinancialResponsibility Program ,are madeto the clerk ofthe court.

    The defendantw illreceive creditforallpaymentspreviously m ade toward any crim inalm onetary penaltiesim posed.


        )     Jointand Several
              Defendantand Co-DefendantNamesand CaseNumbers(includingdefendantnumber),TotalAmount,Jointand
              SeveralAmount,and corresponding payeesifappropriate.


              Thedefendantshallpay the costofprosecution.
                     4

              Thedefendantshallpay thefollowingcourtcostls):
              The defendantshallforfeitthe defendant's interestin the following property to the United States:


     Paymentsshallbeapplied inthefollowing order:(1)assessments(2)restitutionprincipal,(3)restitution interest,(4)fine
     principal,(5)fineinterest,(6)community restitution,(7)penalties,and (8)costs,includingcostofprosecutionand court
     costs.
